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   8                         UNITED STATES DISTRICT COURT
   9                      SOUTHERN DISTRICT OF CALIFORNIA
  10    UNITED STATES OF AMERICA,                        Case No. 14cr0221-MMA-4
  11                        Plaintiff,                   PRELIMINARY ORDER OF
                                                         CRIMINAL FORFEITURE
  12          v.
  13    VEOVANH INSIXENGMAY (4),
  14                        Defendant.
  15
  16
             WHEREAS, in the Superseding Indictment in the above-captioned case, the
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       United States sought forfeiture of all right, title and interest in specific property of the
  18
       above-named defendant, VEOVANH INSIXENGMAY (4) (“Defendant”), pursuant
  19
       to Title 21, United States Code, Section 853, Title 18, United States Code, Section
  20
       924(d) and Title 28, United States Code, Section 2461(c), as charged in the
  21
       Superseding Indictment; and
  22
             WHEREAS, on or about March 17, 2015, Defendant pleaded guilty before
  23
       Magistrate Judge Barbara Lynn Major to Counts 1 and 6 of the Superseding
  24
       Indictment, which plea included consents to the forfeiture allegations of the
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       Superseding Indictment, and all properties seized from him, including forfeiture of
  26
       the following:
  27
             1.     One Ruger .22 caliber handgun, serial number 16-78263i
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             2.     One Sig Sauer P238 .380 caliber handgun, with an obliterated
   1                serial number; and
   2         3.     $3,849.00 in U.S. Currency; and
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             WHEREAS, on April 2, 2015 this Court accepted the guilty plea of Defendant;
   4
       and
   5
             WHEREAS, by virtue of the facts set forth in the plea agreement and forfeiture
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       addendum, the United States has established the requisite nexus between the forfeited
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       properties and the offense; and
   8
             WHEREAS, by virtue of said guilty pleas, the United States is now entitled to
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       possession of the above-referenced properties, pursuant to 21 U.S.C. § 853, 18 U.S.C.
  10
       § 924(d), 28 U.S.C. § 2461(c) and Rule 32.2(b) of the Federal Rules of Criminal
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       Procedure; and
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             WHEREAS, pursuant to Rule 32.2(b), the United States having requested the
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       authority to take control of the above-referenced properties which were found
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       forfeitable by the Court; and
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             WHEREAS, the San Diego Police Department has custody and control of the
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       firearms: One Ruger .22 caliber handgun, serial number 16-78263i, and One Sig
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       Sauer P238 .380 caliber handgun, with an obliterated serial number; and
  18
             WHEREAS, the United States, having submitted the Order herein to the
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       Defendant through his attorney of record, to review, and no objections having been
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       received;
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             Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:
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             1.     Based upon the guilty pleas of the Defendant, all right, title and interest
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       of Defendant VEOVANH INSIXENGMAY (4) in the following firearms are hereby
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       forfeited to the United States:   One Ruger .22 caliber handgun, serial number 16-
  25
       78263i, and One Sig Sauer P238 .380 caliber handgun, with an obliterated serial
  26
       number, pursuant to Title 21, United States Code, Section 853, Title 18, United States
  27
       Code, Section 924, and Title 28, United States Code, Section 2461(c).
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   1        IT IS FURTHER ORDERED that because the firearms are in the possession of
   2 the San Diego Police Department, no ancillary proceedings are required as to these
   3 firearms and the San Diego Police Department shall dispose of them according to
   4 law.
   5        IT IS FURTHER ORDERED:
   6        2.     Based upon the guilty pleas of the Defendant, all right, title and interest
   7 of Defendant VEOVANH INSIXENGMAY (4) in $3,849.00 in U.S. Currency is
   8 forfeited to the United States pursuant to Title 21, United States Code, Section 853.
   9        3.     Pursuant to Rule 32.2(b) and (c), the United States is hereby authorized
  10 to begin proceedings as to the currency consistent with any statutory requirements
  11 pertaining to ancillary hearings and rights of third parties. The Court shall conduct
  12 ancillary proceedings as the Court deems appropriate only upon the receipt of timely
  13 third party petitions filed with the Court and served upon the United States. The
  14 Court may determine any petition without the need for further hearings upon the
  15 receipt of the Government’s response to any petition. The Court may enter an
  16 amended order without further notice to the parties.
  17        4.     Pursuant to the Attorney General’s authority under Section 853(n)(1) of
  18 Title 21, United States Code, Rule 32.2(b)(6), Fed. R. Crim. P., and Rule G(4) of the
  19 Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions,
  20 the United States forthwith shall publish for thirty (30) consecutive days on the
  21 Government’s forfeiture website, www.forfeiture.gov, notice of this Order, notice of
  22 the United States’ intent to dispose of the currency in such manner as the Attorney
  23 General may direct, and notice that any person, other than the Defendant, having or
  24 claiming a legal interest in the currency must file a petition with the Court within
  25 thirty (30) days of the final publication of notice or of receipt of actual notice,
  26 whichever is earlier.
  27        5.     This notice shall state that the petition shall be for a hearing to
  28 adjudicate the validity of the petitioner's alleged interest in the currency, shall be
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   1 signed by the petitioner under penalty of perjury, and shall set forth the nature and
   2 extent of the petitioner's right, title or interest in the forfeited currency and any
   3 additional facts supporting the petitioner's claim and the relief sought.
   4         6.    The United States may also, to the extent practicable, provide direct
   5 written notice to any person known to have alleged an interest in the currency, as a
   6 substitute for published notice as to those persons so notified.
   7         7.    Upon adjudication of all third-party interests, this Court will enter an
   8 Amended Order of Criminal Forfeiture pursuant to 21 U.S.C. § 853(n) as to the
   9 forfeited currency, in which all interests will be addressed.
  10         8.    Pursuant to Rule 32.2(b)(4), this Order of Forfeiture shall be final as to
  11 the Defendant and is part of the sentence and included in the judgment.
  12         IT IS SO ORDERED.
  13 DATED: November 10, 2015
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                                             Hon. Michael M. Anello
  15                                         United States District Judge
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